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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

 WHIRLPOOL CORPORATION,                               §
                                                      §
                                                      §   CIVIL ACTION NO. 2:15-CV-01528-JRG
                   Plaintiff,                         §
                                                      §
 v.                                                   §
                                                      §
 TST WATER, LLC,                                      §
                                                      §
                   Defendant.                         §


                                MEMORANDUM OPINION AND ORDER


       Before the Court is Whirlpool Corporation’s (“Whirlpool”) Motion for Judgment, for an

Order Designating Whirlpool the Prevailing Party, for Enhanced Damages, for an Exceptional

Case Finding, and for an Order Awarding Pre- and Post-judgment Interest (Dkt. No. 175). Having

considered the Motion, the Court is of the opinion the Motion should be and hereby is GRANTED-

IN-PART and DENIED-IN-PART, as set forth herein.

              I.      Whirlpool is Entitled to Judgment in Its Favor and a Declaration That It
                      Is the Prevailing Party

       TST Water, LLC (“TST”) does not dispute this portion of Whirlpool’s Motion. (See

generally Dkt. No. 178; id. at 1 (“That Whirlpool . . . prevailed overall, is hardly noteworthy.”)).

Under Rule 54(c) of the Federal Rules of Civil Procedure, the Court’s judgment should “grant the

relief to which each party is entitled.”                  Accordingly, and consistent with the

jury’s verdict (Dkt. No. 148), Whirlpool is entitled to a Judgment that:

       (i)         TST infringed claims 1, 4, 10, 15, 17, 20, and 27;

       (ii)        those claims are not invalid;
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         (iii)         TST’s infringement was willful; and

         (iv)          Whirlpool’s damages through the verdict’s date (excluding interest, any

                       enhancement, and any attorney’s fees award) are $7.6 million.

(Id.)

         A prevailing party must have “received at least some relief on the merits,” and “[t]hat relief

must materially alter the legal relationship between the parties by modifying one party’s behavior

in a way that ‘directly benefits’ the opposing party.” Shum v. Intel Corp., 629 F.3d 1360, 1367

(Fed. Cir. 2010) (citations omitted). Here, Whirlpool has “received at least some relief on the

merits” which “modifie[s]” TST’s behavior and “directly benefits” Whirlpool. Accordingly,

Whirlpool is properly designated the prevailing party for purposes of Rule 54(d).

         As the prevailing party, Whirlpool is entitled to costs under Rule 54(d), 28 U.S.C. §1920,

Local Rule CV-54, and this Court’s Standing Order Regarding Bill of Costs. The Parties are

ORDERED to meet and confer to resolve any disputes regarding Whirlpool’s taxable costs and

submit any unresolved disputes to the Court as necessary. For the reasons set forth above,

Whirlpool’s Motion is hereby GRANTED with respect to prevailing party status. (Dkt. No. 175

at 2).

                 II.      Enhanced Damages

         The jury found that TST’s infringement of the asserted claims was willful. (Dkt. No. 148,

Jury Verdict at 4). Such a finding “invites the Court to exercise its discretion to determine whether

enhanced damages are appropriate under 35 U.S.C. § 284.” Core Wireless Licensing S.A.R.L. v.

LG Elecs., Inc., No. 14-cv-912-JRG, Final Judgment Order, Dkt. No. 47 at 1 (E.D. Tex. Nov. 1,

2016). In addition to determining whether to award enhanced damages, courts also have discretion

as to the amount of damages to be awarded. Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923,



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1932 (2016) (“District courts enjoy discretion in deciding whether to award enhanced damages,

and in what amount.”); see also id. at 1926 (“§ 284 allows district courts to punish the full range

of culpable behavior.”). The Court may increase damages up to three times the damages assessed

by the Jury. See Jurgens v. CBK, Ltd., 80 F.3d 1566, 1570 (Fed. Cir. 1996). To determine whether

and how much to enhance damages, courts consider the “Read factors:”

       (1) “whether the infringer deliberately copied the ideas or design of another”;

       (2) “whether the infringer, when he knew of the other’s patent protection, investigated the

       scope of the patent and formed a good-faith belief that it was invalid or that it was not

       infringed”;

       (3) “the infringer’s behavior as a party to the litigation”;

       (4) “[d]efendant’s size and financial condition”;

       (5) “[c]loseness of the case,”

       (6) “[d]uration of defendant’s misconduct”;

       (7) “[r]emedial action by the defendant”;

       (8) “[d]efendant’s motivation for harm”; and

       (9) “[w]hether defendant attempted to conceal its misconduct.”

Read Corp. v. Portec Inc., 970 F.2d 816, 826–27 (Fed. Cir. 1992), abrogated in part on other

grounds by Markman v. Westview Instr. Inc., 52 F.3d 967 (Fed. Cir. 1995) (en banc). The Court

addresses each factor in turn.

       II.A.   Copying [Read Factor 1]

       Whirlpool submits that “direct evidence shows TST deliberately copied Whirlpool’s

patented design.” (Dkt. No. 175 at 3). Specifically, Whirlpool points to the following:




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          TST’s President, Michael Baird, was aware of the ’894 patent as early as 2010

           and studied it. (Dkt. No. 162, Mar. 8, 2017 A.M. Tr. at 69:3–13);

          TST knew that Whirlpool’s patented Filter 3 was one of the “best selling

           replacement filters in the market.” (Id. at 74:25-75:2; Dkt. No. 175, Ex. 9 at

           58258 (TST noting Filter 3 is “one of the highest-sellers for everyone in

           retail”));

          TST bought more than 150 Filter 3 filters and several of their corresponding

           head assemblies. (Dkt. No. 163, Mar. 8, 2017 P.M. Tr. at 36:9–14);

          TST’s internal design files for the W-5 and its computer-aided design (“CAD”)

           files contained:

               o Whirlpool website printouts relating to the Filter 3 (Dkt. No. 175, Ex.

                   10 at 3711–12);

               o Schematic renderings of the Filter 3 (id. at 3708–10; Dkt. No. 163 Mar.

                   8, 2017 P.M. Tr. at 49:4–12, 133:9–13 (admissions re: Filter 3 rendering

                   and CAD files)); and

               o Schematic renderings of the Filter 3 specifically of the head assembly

                   (id. at 3633–39).

(Dkt. No. 175 at 3–4). Whirlpool argues that “TST [] made cosmetic changes to Whirlpool’s Filter

3 design to arrive at the W-5. As Whirlpool’s expert, Joseph Beaman, explained, TST effectively

‘carved away’ portions of Filter 3’s dome to make it appear ‘sunk down.’” (Id. at 4 (quoting Dkt.

No. 159, Mar. 7, 2017 A.M. Tr. at 27:5–28:1, 28:16–21)). “TST even ‘superimposed’ the end

piece of Whirlpool’s Filter 3 onto its own W-5 product to ensure its compatibility:”




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(Id. at 5 citing Dkt. No. 175, Ex. 10 at 3642; see also id. at 3643-44; Dkt. No. 163, Mar. 8, 2017

P.M. Tr. at 49:13–50:5 (Baird explaining that a TST employee “superimposed the Whirlpool

product on top of [his] design” to “understand whether he got it right on those areas that needed to

be compatible”)). In addition, “no witness testified that TST independently developed its design.”

(Dkt. No. 175 at 6).

       In response, TST argues that “There was no evidence at trial that TST simply copied the

Filter 3, as did so many others. Rather . . . TST presented abundant evidence that [] Mr. Baird

spent years and tens of thousands of dollars carefully studying the ’894 patent and developing a

different, noninfringing design.” (Dkt. No. 178 at 20). TST also points to “Mr. Baird [being] so

confident that his design was different and an improvement over Whirlpool’s that he filed multiple

patent applications describing his improvements.” (Id.) Further, “TST refused Home Depot’s request

to sell a replacement for the Filter 3 in 2014 because Mr. Baird was not completely satisfied that the

then-existing design would not infringe.” (Id.) According to TST, the facts that Whirlpool relies

upon were the same facts that “always exist when someone makes a good-faith effort to design

around a patent.” (Id.)



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       Considering the totality of the circumstances and all of the evidence of record, the Court

finds that this factor weighs in favor of enhancement. It is, of course, true that “[d]esigning around

patents is, in fact, one of the ways in which the patent system works to the advantage of the public

in promoting progress in the useful arts, its constitutional purpose,” Slimfold Mfg. Co. v. Kinkead

Indus., Inc., 932 F.2d 1453, 1457 (Fed. Cir. 1991), and that “[e]very man has a right to make an

improvement in a machine, and evade a previous patent, provided he does not invade the rights of

the patentee.” Burr v. Duryee, 68 U.S. 531, 574 (1863). However, an attempted design around

that ultimately fails to actually design around and is adjudged to be infringing necessarily copies

where, as here, the adjudged infringer begins with a copy already existing technology and then

proceeds to make changes. That the attempted design around process engaged in by TST began

with copying cannot be disputed; it is confirmed by the “carving away” of the Filter 3 dome whilst

leaving the protrusion in the required location, as seen in the evidence, discussed supra.

       TST’s objective was not to improve on Whirlpool’s technology or to bring a new,

alternative design to the market and consumers. In essence, TST brought an infringing filter to

market while simply pretending otherwise. The Court notes that it is cognizant of the “so-called

‘negative incentive’ to ‘design around’ a competitor’s products, even when they are patented, thus

bringing a steady flow of innovations to the marketplace.” Westvaco Corp. v. Int'l Paper Co., 991

F.2d 735, 745 (Fed. Cir. 1993) (quoting State Indus., Inc. v. A.O. Smith Corp., 751 F.2d 1226,

1235-36 (Fed. Cir. 1985)). However, the Court believes that this case is one where the copying

exhibited is “so obnoxious as to clearly call for” “discourage[ment] by punitive damage[s].”

Westvaco, 991 F.2d at 745.




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       II.B.   Good-Faith [Read Factor 2]

       Whirlpool argues that TST had “no good-faith belief in non-infringement or invalidity.”

(Dkt. No. 175 at 6). Despite TST’s President, Mr. Baird’s, awareness of the ’894 patent prior to

suit, (Dkt. No. 162, Mar. 8, 2017 A.M. Tr. at 69:3–13), “his testimony and TST’s related design

files, [] confirm that TST did not adequately investigate the scope of the ’894 patent claims when

designing the W-5.” (Dkt. No. 175 at 6). Mr. Baird, testified in this case that he read the patent

and its claims. (Dkt. No. 163, Mar. 8, 2017 P.M. Tr. at 3:20–23). This is insufficient, on its own,

to establish a good-faith belief. Also, this appears to be uncorroborated, as TST offered no written

evidence that anyone at TST considered the full claim scope or alternative embodiments which

might fall within it. As Whirlpool points out “[n]ot a single page of TST’s 252-page design file—

which records the entire development of the W-5—includes a figure, description, or reference to

the embodiments from Whirlpool’s patent that illustrate the broad scope of its claims.” (Dkt. No.

175 at 7).

       Further, Whirlpool argues that TST’s W-5 Design “plainly infringed” such that TST could

not plausibly assert a “good-faith” belief of non-infringement. (Id.) Specifically, TST conceded

that the W-5 practices virtually all of the claim limitations. (See, e.g., Dkt. No. 175, Ex. 13 at Nos.

1 (“end piece”), 2 (“end piece wall”), 3 (“inlet fitting”), 4 (“outlet fitting”), 5 (“protrusion”).) At

trial, TST advanced only two non-infringement theories at trial—that the W-5 lacks (1) an inlet

fitting with a “longitudinal axis” and (2) a protrusion that “extends from the end piece wall.” (Dkt.

No. 164, Mar. 9, 2017 A.M. Tr. at 116:5–20). Whirlpool criticizes both theories as being

“inconsistent with [TST’s] technical documents.” (Dkt. No. 175 at 7). Specifically, Whirlpool

submits that “TST’s design drawings depicted a longitudinal axis running ‘along the length and

through the center’ of the inlet fitting no fewer than 16 times.” (Id. (citing id., Ex. 10 at 3561–



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3562, 3599–3601, 3610, 3612, 3621, 3626, 3629–3630, 3693, 3705, 3788, 3791, 3792); accord

id., Ex. 14 at 96701, 96692, 96698; see also Dkt. No. 159, Mar. 7, 2017 A.M. Tr. at 46:2–15 (Mr.

Beaman explaining that drawings depict axis)).

       In addition, Whirlpool argues that “TST’s design drawings also contradicted its second

non-infringement position, i.e., that the W-5 did not infringe because it lacked a protrusion that

‘extended from the end piece wall’” since “TST’s drawings (e.g., [Dkt. No. 175,] Ex. 10 at 3642)

revealed that the W-5’s design changes from the Filter 3 product were purely cosmetic—the

protrusion still remained at the exact same position,” and “Mr. Baird further conceded that the W-

5’s protrusion performs the same function and achieves the same result as the patented invention.”

(Dkt. No. 175 at 8 citing Dkt. No. 163, Mar. 8, 2018 P.M. Tr. at 51:17–52:11).

       Finally, regarding the invalidity of the ’894 patent, Whirlpool argues that TST knew that

the Patent Office had “confirmed the patent’s validity twice”: once at issuance, and once when one

of Whirlpool’s competitors, Swift Green, challenged the validity of the patent via reexamination,

which ultimately failed. (Dkt. No. 175 at 8–9). Additionally, “by its own concession, TST always

‘assumed’ that the ’894 patent was valid before this lawsuit was filed.” (Id. at 9, citing Dkt. No.

162, Mar. 8, 2017 A.M. Tr. 78:22–79:13; accord id. at 79:20–25, 80:7–14). As to the invalidity

defense presented at trial, “TST’s expert, Mr. Stein, openly acknowledged that three of the four

references (Knuth, Fritze, and Dorfman) were before the Patent Office during the unsuccessful

reexamination proceedings that Swift Green initiated,” (Dkt. No. 175 at 9 citing Dkt. No. 165,

Mar. 9, 2017 P.M. Tr. at 7:19–8:8). Further, he “conceded that none of the four references

expressly disclosed the ‘about 2 cm’ limitations of all asserted claims,” (Dkt. No. 175 at 9 citing

Dkt. No. 165, Mar. 9, 2017 P.M. Tr. at 10:19–11:9, 12:11–18, 14:17–23, 15:20–16:6), and he also




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“admitted that TST’s attorneys conceived of this combination before he was hired for this case.”

(Dkt. No. 175 at 9 citing Dkt. No. 164, Mar. 9, 2017 A.M. Tr. at 128:14–29:13).

        TST submits the same arguments as described supra, Part II.A at 5, namely “that (1) Mr.

Baird spent years and tens of thousands of dollars carefully studying the ’894 patent and developing a

different, noninfringing design; (2) Mr. Baird was so confident that his design was different and an

improvement over Whirlpool’s that he filed multiple patent applications describing his improvements;

and (3) TST refused Home Depot’s request to sell a replacement for the Filter 3 in 2014 because Mr.

Baird was not completely satisfied that the then-existing design would not infringe.” (Dkt. No. 178 at

20).

        The Court is unpersuaded by TST’s arguments. TST does not dispute Whirlpool’s

assertion that the record lacks any “written evidence that anyone at TST considered the full claim

scope or alternative embodiments that might fall within it.” (Dkt. No. 175 at 7). This is particularly

troubling, as the lack of a written record directly undermines Mr. Baird’s testimony regarding the

reasonableness of TST’s investigation and its good-faith belief. See, e.g., Golden Hour Data Sys.,

Inc. v. emsCharts, Inc., No. 2:06-cv-381-JRG, 2014 WL 8708239, at *17 (E.D. Tex. Mar. 31,

2014) (“Further, aside from his own words, emsCharts produced no written evidence at trial

reflecting Mr. Goutmann's investigation of the ’073 Patent or analysis of the patent scope. This,

when considered together with his subsequent statement to Mr. Cromer that he had known about

the patent but blown it off, casts doubts on the extent of Mr. Goutmann’s purported

investigation.”); accord Metabolite Labs., Inc. v. Lab. Corp. of Am. Holdings, 370 F.3d 1354,

1371 (Fed. Cir. 2004) (the district court “could easily have determined” that the defendant had not

conducted a reasonable investigation into potential infringement when the defendant formed its

belief of non-infringement based solely on the opinion of a person who lacked training in patent

law).

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         Furthermore, Mr. Baird’s actions alone do not establish a good faith belief of non-

 infringement or invalidity. Filing a patent application, without more, does not demonstrate that a

 good faith belief has been formed.1 The time and money spent by Mr. Baird does not compel a

 different result, especially given the dearth of documentary evidence or other corroborating

 testimony that TST actually considered the full claim scope or alternative embodiments. See Arctic

 Cat Inc. v. Bombardier Rec. Prods., 876 F.3d 1350, 1371 (Fed. Cir. 2017) (where “substantial

 evidence demonstrated that [Defendant] knew about the patents before they issued, conducted only

 a cursory analysis of the patents, waited years before seeking advice of qualified and competent

 counsel,” a district court’s denial of a renewed motion for judgment as a matter of law on

 willfulness properly refused to “‘second-guess the jury or substitute [the court's] judgment for [the

 jury’s] judgment’ where the verdict [was] supported by substantial evidence.”); see also

 WesternGeco L.L.C. v. ION Geophysical Corp., 837 F.3d 1358, 1362 (Fed. Cir. 2016) (noting that

 Halo “emphasized that subjective willfulness alone—i.e., proof that the defendant acted despite a

 risk of infringement that was either known or so obvious that it should have been known to the

 accused infringer,”—can support an award of enhanced damages.”) (citing Halo, 136 S. Ct. at

 1930) (internal quotations omitted). Furthermore, Mr. Baird’s refusal to sell an apparently more

 blatant infringement of the ’894 patent does not create some the inference that his decision to sell

 the W-5 was properly supported by a good faith belief in its non-infringement.

         Accordingly, the Court finds this factor to weigh strongly in favor of enhancement.




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   The Court recognizes that such a filing, supported by adequate evidence of other analyses undertaken to ensure non-
 infringement, may demonstrate good faith. This, however, is not that case. Filing a patent application does not
 automatically mean that other analyses were undertaken to ensure non-infringement or permit such an inference, as
 TST suggests.

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        II.C.       Litigation Behavior [Read Factor 3]

        Whirlpool argues that, even though “the parties’ interactions during the litigation were

 overwhelmingly and consistently professional, cooperative, and positive,” some of “TST’s

 positions and conduct stretched the limits of zealous advocacy, burdened Whirlpool and the Court,

 and skirted (if not violated) the Court’s rulings.” (Dkt. No. 175 at 10). Specifically, Whirlpool

 argues that:

                   TST rehashed claim construction arguments rejected by the Court as a
                    Motion in Limine, which the Court had to reject a second time;

                   TST raised a frivolous non-infringement defense in that the W-5 filter did
                    not satisfy the “about 2 cm” argument, a position it abandoned on “the eve
                    of trial” “only after Whirlpool wasted valuable trial time addressing it”;

                   TST’s eighteen-reference combination was improper and “forced”
                    Whirlpool “to devote significant time to responding” to it;

                   TST’s expert, Mr. Stein “so obviously” lacked independent judgment that
                    TST’s retention of Mr. Stein warrants enhancement;

                   TST “repeated[ly]” violated the Court’s in limine rulings; and

                   “TST’s repeated references to its products as being ‘made in the USA’
                    tested the limits of fair advocacy”;

 (Dkt. No. 175 at 10–15).

        In response, TST argues that TST’s failure to prevail on those issues resolved in

 Whilrpool’s favor is not evidence of litigation misconduct. (Dkt. No. 178 at 21–22). Rather, TST

 contends that its “behavior as a party in the litigation has been cooperative and professional,” as

 “Whirlpool acknowledges.” (Id. (internal quotations omitted)). As examples of this cooperative

 and professional advocacy, TST points to its “stipulat[ion] that the ’894 patent covered the Filter

 3 product, and did not require Whirlpool to spend time at trial proving this central part of its case,”




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 and its “stipulation to a permanent injunction, obviating the need for Whirlpool to litigate this

 often-contentious issue.” (Id. at 22).

          The Court does not find evidence of litigation misconduct in TST’s actions in this case.2

 Litigation tactics do not cross the line from zealous advocacy into abusive gamesmanship by

 merely being “vigorously employed and at times not well received, by the jury or the court.” Barry

 v. Medtronic, Inc., 250 F. Supp. 3d 107, 117 (E.D. Tex. 2017); See also, Power Integrations, Inc.

 v. Fairchild Semiconductor Int'l, Inc., Case No. 09-cv-05235-MMC, 2017 WL 130236, at *4 (N.D.

 Cal. Jan. 13, 2017) (“[H]aving reviewed the asserted misconduct on which [the patentee] relies,

 [the court] finds ‘this was a hard fought case but did not cross the line into improper conduct.’”)

 (quoting Finjan, 2016 WL 3880774, at *16); but see Imperium IP Holdings (Cayman), Ltd. v.

 Samsung Elecs. Co., 203 F. Supp. 3d 755, 763–64 (E.D. Tex. 2016) (trebling damages where the

 court found that defendants “made multiple misrepresentations under oath” in their sworn

 interrogatories, gave false testimony to the jury on key topics, and failed to produce key

 documents—despite repeated requests for them—until the fourth day of trial). To the contrary,

 the acknowledged “overwhelmingly and consistently professional, cooperative and positive”

 interactions of counsel, are the opposite of improperly contentious, dirty, or uncivil litigation

 tactics. This factor weighs against enhancement.

          II.D.    Size and Financial Condition [Read Factor 4]

          Defendant's size and financial condition should be viewed both relative to the Plaintiff and

 also individually to ensure that enhanced damages would “not unduly prejudice the [defendant's]



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   The Court notes that while TST invites the Court to consider “Whirlpool’s attempt to use its commercial embodiment
 to prove infringement, in contravention of the Court’s motion-in-limine ruling forbidding the practice,” (Dkt. No. 178
 at 22), this comparison is not appropriate in considering an enhancement of damages. As the third Read factor makes
 clear, the inquiry is properly focused on “the infringer’s behavior as a party to the litigation.” Read Corp., 970 F.2d
 at 827 (emphasis added). The patentee’s litigation conduct is not relevant to this inquiry. Rather, that comparative
 inquiry is properly undertaken during the Court’s evaluation of the exceptionality of the case under 35 U.S.C. § 285.

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 non-infringing business.” Krippelz v. Ford Motor Co., 670 F. Supp. 2d 815, 822 (N.D. Ill. 2009)

 (internal citations omitted); Read, 970 F.2d at 827.

        TST employs approximately one hundred people in a 150,000 square foot, multi-building

 facility. (Dkt. No. 162, Mar. 8, 2017 A.M. Tr. at 118:14–16, 120:15–20). TST manufactures all

 the replacement filters that The Home Depot sells under its HDX “house brand.” (Dkt. No. 160,

 Mar. 7, 2017 P.M. Tr. at 57:4–8, 58:6–12). TST also sells roughly 20,000 W-5 filters per month

 over the Internet. (Dkt. No. 163, Mar. 8, 2017 P.M. Tr.at 66:17–19). TST has approximately $30

 million in total annual revenues company-wide (Dkt. No. 163, Mar. 8, 2017 P.M. Tr. at 38:18–

 39:4; Dkt. No. 162, Mar. 8, 2017 A.M. Tr. 118:14–16).

        However, TST’s company-wide profit in 2015 was only about 14% of revenues or $4.4

 million. (Dkt. No. 163, Mar. 8, 2017 P.M. Tr. at 29:9–12). Accordingly, the jury’s award is

 upwards of two years’ worth of TST’s company-wide profits.

        Whirlpool argues that “TST’s ability to pay any enhanced damages favors enhancement,”

 and that “any potential impact on TST’s non-infringing business lines does not bar enhancement.”

 (Dkt. No. 186 at 9). However, the test requires looking at whether enhanced damages would

 “unduly prejudice the defendant’s non-infringing business.” Krippelz, 670 F. Supp. 2d at 822

 (citations omitted). As the Jury’s award represents more than a year’s (and approaching two

 years’) worth of company-wide profits, this factor weighs against enhancement.

        II.E.   Closeness of the Case [Read Factor 5]

        Whirlpool submits that “[t]he case was not close. Within a three-hour period, the jury

 returned a verdict that: (i) all seven asserted claims were infringed; (ii) all seven asserted claims

 are valid; (iii) TST owes damages of $7.6 million; and (iv) TST acted willfully.” (Dkt. No. 175 at

 16 (citing Dkt. Nos. 148, 153)). “The jury’s $7.6 million award was over ten times TST’s



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 evaluation and nearly all of Whirlpool’s $8.7 million ask.” (Dkt. No. 175 at 17). Accordingly,

 Whirlpool argues, “[i]n view of the jury’s decisive verdict in Whirlpool’s favor, this factor favors

 enhancement.” (Id.)

        TST argues that the fifth factor is “[t]he Read factor most relevant to this case,” because

 “the central issue of infringement was not merely close,” but, in fact, incorrectly decided by the

 jury. (Dkt. No. 178 at 17–18). This conclusory assertion is without support. TST also advances

 similar arguments regarding its obviousness defense. (Id. at 19).

        The Court does not view this as a particularly close case. While TST believes this was a

 close case because it presented what it views as a compelling case of non-infringement and

 invalidity, the sole judges of the facts of this case, the jury, did not arrive at a verdict which

 indicates a close case. The Jury found the ’894 to be not invalid and willfully infringed. (Dkt. No.

 148). In addition, the jury awarded Whirlpool approximately 90% of Whirlpool’s proposed

 damages, far more than TST’s proposed damages. The jury reached these conclusions within three

 hours. This case was not close. See SSL Servs., LLC v. Citrix Sys., Inc., No. 08-CV-158-JRG,

 2012 WL 4092449, at *5 (E.D. Tex. Sept. 17, 2012), vacated and remanded on other grounds, 769

 F.3d 1073 (Fed. Cir. 2014) (factor favored enhancement where jury found that defendant willfully

 infringed and that the patent was not invalid and awarded a $10 million lump-sum award). That a

 defendant’s position on various defenses “may have required resolution at trial . . . does not dictate

 that the case was close.” PPC Broadband, Inc. v. Corning Optical Commc'ns RF, LLC, No. 5:11-

 cv-761-GLS-DEP, 2016 WL 6537977, at *7 (N.D.N.Y. Nov. 3, 2016), appeal dismissed, No. 16-

 4106, 2016 WL 10655596 (2d Cir. Dec. 12, 2016). This Court has surveyed the evidence

 independently of the jury’s verdict and has found it to strongly support Whirlpool’s case. (See,




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 generally, Memorandum Opinion and Order on Defendant’s Motions for JMOL, issued

 contemporaneously).

        Accordingly, the Court finds that this factor weighs in favor of enhancement. WCM Indus.,

 Inc. v. IPS Corp., No. 2016-2211, 2018 WL 707803, at *10 (Fed. Cir. Feb. 5, 2018) (“[T]he

 closeness of the case was also in WCM's favor because the jury verdict was not a close call and

 the evidence strongly supported WCM's case.”).

        II.F.   Duration of Misconduct [Read Factor 6]

        TST knew of Whirlpool’s ’894 patent as early as 2010. (Dkt. No. 162, Mar. 8, 2017 A.M.

 Tr. at 69:3–5.) TST announced the pending release of the W-5 filter in October 2014 and again in

 March 2015. (Dkt. No. 175, Ex. 28 (October 2014); id, Ex. 29 (March 2015)). It started selling

 the W-5 product to The Home Depot and others in July 2015. (Dkt. No. 159, Mar. 7, 2017 A.M.

 Tr. at 110:25–111:8; Dkt. No. 160, Mar. 7, 2017 P.M. Tr. at 29:21–30:2; Dkt. No. 163, Mar. 8,

 2017 P.M. Tr. at 27:17–20). TST continued selling the W-5 filter nationwide following the filing

 of this lawsuit. (Dkt. No. 163, Mar. 8, 2017 P.M. Tr. 35:22–36:2). By the time of the jury verdict,

 TST had made and sold approximately 600,000 infringing filters. (See Dkt. No. 160, Mar. 7, 2017

 P.M. Tr. at 109:14–15; id. Sealed Portion at 9:14–23).

        Whirlpool argues that, in addition to the facts above, TST encouraged its customers to

 continue to sell infringing filters even after Whirlpool filed suit. “For example, it agreed to

 indemnify both The Home Depot and Pavel Water Filtration for their continued sales.” (Dkt. No.

 175 at 18 (citing Dkt. No. 175, Ex. 30; Dkt. No. 175, Ex. 31).

        In response, TST contends that its “push” for a quick resolution weighs against a finding

 that the continued infringing sales warrant enhancement. (Dkt. No. 188 at 8). Specifically, TST

 argues that “[u]nlike many defendants who actively seek delay, TST sought a judicial resolution



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 of Whirlpool’s allegations as quickly as possible, with the remarkable result that the case went to

 trial on the originally scheduled date.” (Id.) TST argues that this quick resolution resulted in TST

 selling the W-5 filter for “only a year and eight months, between mid-July 2015 and March 10,

 2017.” (Id. (citing Dkt. No. 163, Mar. 8, 2017 P.M. Tr. at 27:17–20).

        Although TST’s continued infringement lasted for “only a year and eight months,” the

 Court must nonetheless weigh the period of time against TST’s pre-suit notice and continued

 infringement. There is uncertainty among courts as to the weight these facts are given. Compare

 Broadcom Corp. v. Qualcomm Inc., No. SACV 05-467-JVS, 2007 WL 2326838, at *3 (C.D. Cal.

 Aug. 10, 2007) (“The length of [the infringer's] infringement (approximately two years), coupled

 with the fact that infringement continued after [the patentee] filed its suit, supports an increase in

 damages.”), vacated on other grounds, 2007 WL 8030058 (C.D. Cal. Nov. 21, 2007), and PPC

 Broadband, Inc. v. Corning Optical Commc’ns RF, LLC, No. 5:11-CV7-61 (GLS/DEP), 2016 WL

 6537977, at *8 (N.D.N.Y. Nov. 3, 2016), appeal dismissed, No. 16-4106, 2016 WL 10655596 (2d

 Cir. Dec. 12, 2016) (“[C]ontinuing to sell the infringing products after notice of infringement and

 during the course of litigation supports enhancement.”), with Barry v. Medtronic, Inc., No. 1:14-

 cv-104, 2017 WL 1536492, at *8 (E.D. Tex. Apr. 20, 2017) (holding that infringement for more

 than two years––from March 2010 through 2013––did not support enhancement) and

 Spectralytics, Inc. v. Cordis Corp., 834 F. Supp. 2d 920, 928 (D. Minn. 2011), aff'd, 485 F. App’x

 437 (Fed. Cir. 2012) (holding that willful infringement for “about one [] year[]” was a “relatively

 short” “period of willful infringement” and did “not weigh in favor of enhanced damages.”). Given

 that TST’s period of willful infringement was under two years which included the period during

 the course of litigation, this factor only slightly favors enhancement.




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          II.G. Remedial Action [Read Factor 7]

          Whirlpool argues that TST undertook no remedial action and that all of TST’s actions prior

 to verdict were consistent only with misconduct (Dkt. No. 175 at 17).

          TST responds that it “carefully designed around the ‘894 patent,” and had a “well-reasoned

 and good-faith belief that the W-5 filter did not infringe.” (Dkt. No. 178 at 23). In support, TST

 points to “the correspondence that TST’s counsel sent to The Home Depot immediately after

 Whirlpool filed suit, in which TST expressed confidence in its defenses.” (Id. (citing Dkt. No.

 160, Mar. 7, 2017 P.M. Tr. at 72:23–73:22; PX17). TST also argues that it “did not offer the W-

 5 to other national retail customers, such as Lowe’s and Target,”3 “stopped selling and shipping

 the W-5 the moment the jury returned its verdict, and has since stipulated to a permanent

 injunction.” (Dkt. No. 178 at 23).

          There is a difference between preventative action and remedial action. Here, TST’s actions

 were preventative; they served to prevent expansion of the scope of the ongoing infringement as

 found at trial. Remedial actions are those actions that serve to decrease scope, or entirely eliminate,

 the scope of ongoing infringement. See Barry v. Medtronic, Inc., 250 F. Supp. 3d 107, 116 (E.D.

 Tex. 2017) (finding “no evidence” of “remedial action” where defendant did not “discontinue[]

 distribution or otherwise curb[] use of potentially infringing devices as a remedial measure or in

 response to that potential (now proven) infringement.”); accord WCM Indus., Inc. v. IPS Corp.,

 No. 2016-2211, 2018 WL 707803, at *10 (Fed. Cir. Feb. 5, 2018) (“Remedial action by the

 defendant, [] may also weigh slightly against enhancement because [the defendant] attempted to



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   TST clarifies that this refers to offers “after TST was served with Whirlpool’s complaint,” such that where it had
 reached out to other retailers prior to the suit, “it stopped all efforts to sell the W-5 in the stores of new retail customers,
 with the result that 85% of W-5 sales were made in Home Depot’s brick-and mortar stores.” (Dkt. No. 188 at 8 (citing
 Dkt. No. 163, Mar. 8, 2017 P.M. Tr. at 67:6–8). “TST’s W-5 sales to customers other than Home Depot were so small
 that Whirlpool did not bother to seek lost profits for those sales.” (Id. (citing Dkt. No. 162, Mar. 8, 2017 A.M. at Tr.
 at 63:9–23).

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 take remedial action (albeit ineffectively) when it modified its Classic Product and began selling

 its Revised Product during the pendency of this litigation”) (quotation omitted) (emphasis added);

 Intra Corp. v. Hamar Laser Instruments, Inc., 662 F. Supp. 1420, 1439 (E.D. Mich. 1987), aff’d,

 862 F.2d 320 (Fed. Cir. 1988) (damages only doubled because defendant “voluntarily ceased

 manufacture and sale of infringing systems during the pendency of this litigation”) (emphasis

 added). Accordingly, because there is no evidence of remedial action, only preventative action,

 this factor weighs in favor of enhancement.

        II.H. Motivation for Harm [Read Factor 8]

        Whirlpool argues that “TST intended not only to free ride on Whirlpool’s investment in

 developing the patented Filter 3 product, but eventually to drive Whirlpool out of the replacement

 filter market entirely.” (Dkt. No. 175 at 18). Whirlpool argues that record evidence shows it costs

 upwards of $100 million to bring a new refrigerator to market, that designing a refrigerator filter

 is a non-trivial process, that the low profit margins of refrigerators are buttressed by sales of

 replacement filters to help recover development expenditures. (Id.) Whirlpool also argues that

 “the Filter 3 became one of the best selling replacement filters in the market,” due to Whirlpool’s

 efforts and investment. (Id. (quotation omitted)).

        As such, Whirlpool accuses TST of “free rid[ing]” on Whirlpool’s efforts relating to its

 Filter 3 product via the sales of its W-5 product. (Id. at 19). “In particular, TST has competed with

 Whirlpool and ‘converted’ (or stolen) Whirlpool’s customers using only one thing—price,” with

 an asserted “ultimate goal [] to ‘[e]liminate OEM products,’ i.e., to ‘kick[] out companies like

 Whirlpool who have developed the refrigerators with these filters once TST’s filters are in the

 stores.’” (Id. (citations omitted)). “Whirlpool’s Filter 3 sales at places like The Home Depot have

 ‘plummeted’ since the W-5’s introduction.” (Id.)



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         TST characterizes its actions as “just good old-fashioned competition, the sort of commercial

 behavior that our nation’s free-market economic system actively encourages.” (Dkt. No. 178 at 23).

 TST also argues that Whirlpool’s investment in developing refrigerators does not “give it the exclusive

 right to profit from all after-market sales of replacement parts,” since “[b]y that logic, Ford would be

 the only company permitted to sell after-market oil filters, tires and maintenance service for the cars

 and trucks it manufactures.” (Id.)

         TST’s position is not persuasive. It is not “good old-fashioned competition” to trespass upon

 other competitor’s property rights in pursuit of profits. The creative interaction that undergirds the

 nation’s free-market economic system presumes healthy, but fair, competition. TST is welcome to

 undermine Whirlpool’s dominance in the Filter 3 space––once the patent expires or TST develops a

 true non-infringing alternative. However, that is not what happened here.           TST’s reliance on

 Whirlpool’s install base evinces an attempt to “free ride” and improperly undercut a patentee’s rightly

 earned profits. On the record evidence, the Court finds that TST possessed a motivation for harm, and

 such weighs in favor of enhancement.

         II.I.   Concealment of Misconduct [Read Factor 9]

         Whirlpool argues that TST engaged in extensive concealment of its misconduct. (Dkt. No.

 175 at 19–20). Specifically, Whirlpool argues that TST “created a design that superficially

 differed from Whirlpool’s,” “modifyi[ng] the Filter 3’s dome design so it looked less like it was




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 one piece” and “disguis[ing] its fittings to appear angled—even though the fittings were designed

 to fit within the same envelope, as shown in TST’s engineering drawing.”4 (Id. at 19).

        Whirlpool argues that Mr. Baird’s testimony at trial, wherein he stated that the W-5’s

 “angled” tips helped to clear lodged ice and that the “bridge” of the protrusion helped with

 tolerances, (see Dkt. No. 163, Mar. 8, 2017 P.M. Tr. at 6:12–18 (ice clearing), 40:4–14 (same),

 23:1–20 (benefits of “bridge”)), were a “fiction” created to “obscure” TST’s infringement since

 no packaging, label, or pamphlet to a single consumer mentions these improvements. (Dkt. No.

 175 at 20).

        TST argues that, contrary to Whirlpool’s argument, “TST’s fittings are actually angled.”

 (Dkt. No. 178 at 20). TST asserts its conduct was “open and candid,” evincing a belief that its

 “different design [did] not infringe the ’894 patent” by “openly disclos[ing] this in its own

 published patent applications that compare the W-5 design to Whirlpool’s patented design and

 describe Mr. Baird’s improvements.” (Id. (citing DX784 at 11–12; DX784 at 10–11)). In addition,

 these improvements, accused of being a fiction by Whirlpool, were specifically addressed during

 prosecution at the Patent Office. (Id.)

        Surveying the record, the Court does not find that TST engaged in improper concealment.

 While TST’s infringement may have been willful, as found by the Jury, it acted with flagrancy

 rather than subterfuge. This is confirmed by TST’s submissions to the Patent Office, wherein the


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                                                                 (Dkt. No. 175 ,Ex. 10 at 3562)

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 application specifically represents that the “replacement cost of [] filters from the manufacturer of

 the appliance is high as the appliance manufacturer attempts to configure the filter cartridges in

 ways that enable the manufacturer to make it difficult for others to make the cartridge, thus creating

 a captive market for which the original manufacturer is the sole supplier and for which the

 manufacturer can charge a premium price. There is thus a need for a filter cartridge that can replace

 such filter cartridges as they wear out, but that is available at a lower cost.” (DX 784 (Part 1) at

 11). Whirlpool believes that every Filter 3-compatable filter infringes the ’894 patent and because

 TST clearly positioned the W-5 as a Filter 3-compatable filter, the Court does not find there to

 have been concealment of TST’s misconduct of infringement.                         This factor weighs against

 enhancement.

          II.J.    Enhanced Damages Conclusion

          The Read factors provide “useful guideposts” in the court’s exercise of discretion but are

 not binding or exhaustive. Imperium, 203 F. Supp. 3d at 763–64; see also Finjan v. Blue Coat Sys.,

 Case No. 13-cv-0399-BLF, 2016 WL 3880774, at *16 (N.D. Cal. July 18, 2016). “While the Read

 factors remain helpful to the [c]ourt’s execution of its discretion, an analysis focused on egregious

 infringement behavior is the touchstone for determining an award of enhanced damages rather than

 a more rigid, mechanical assessment.” Imperium, 203 F. Supp. 3d at 763; accord Halo, 136 S. Ct.

 at 1934 (“we eschew any rigid formula for awarding enhanced damages under § 284”).

          The Court has considered each of the Read factors as guideposts in its determination as to

 whether enhancement is appropriate in this case.5 Having considered the factors, and mindful of




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   Summary of the Read factor holdings: (1) copying: “heavily in favor of enhancement”; (2) good faith belief: “heavily
 in favor of enhancement”; (3) litigation misconduct: “against enhancement”; (4) size and financial condition: “against
 enhancement”; (5) closeness of the case: “in favor of enhancement”; (6) duration of misconduct “slightly favors
 enhancement”; (7) remedial action: “in favor of enhancement”; (8) motivation for harm: “in favor of enhancement”;
 (9) concealment of misconduct: “against enhancement”.

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 the Court’s obligation to focus its analysis on determining whether egregious infringement

 behavior is present, the Court finds that such behavior is present and enhancement is appropriate

 on that basis. “[W]hen only a subset of factors weigh in favor of enhanced damages a court should

 award less than treble damages.” WCM Indus., Inc. v. IPS Corp., No. 2016-2211, 2018 WL

 707803, at *10 (Fed. Cir. Feb. 5, 2018). As such, Court finds that less than treble damages are

 appropriate in this case.

          Accordingly, the Court hereby GRANTS Whirlpool’s Motion as to enhanced damages,

 having found enhancement to be appropriate in this case and ORDERS enhanced damages in the

 amount of $3.8 million dollars be awarded to Whirlpool, in addition to the jury’s compensatory

 award.

             III.    Exceptional Case

          Under 35 U.S.C. § 285, a court “may award reasonable attorney fees to the prevailing

 party” in “exceptional cases.” An “exceptional” case under § 285 is “simply one that stands out

 from others with respect to the substantive strength of a party’s litigating position (considering

 both the governing law and the facts of the case) or the unreasonable manner in which the case

 was litigated.” Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1751 (2014).

 Courts “may determine whether a case is ‘exceptional’ in the case-by-case exercise of their

 discretion, considering the totality of the circumstances.” Id.

          “[B]ad faith litigation, objectively unreasonable positions, inequitable conduct before the

 PTO, litigation misconduct, and (in the case of an accused infringer) willful infringement” may

 support a finding of exceptionality. Stragent, LLC v. Intel Corp., No. 6:11-cv-421, 2014 WL

 6756304, at *3 (E.D. Tex. Aug. 6, 2014) (Dyk, J., sitting by designation). “Ultimately, a party’s

 entitlement to attorney fees need only be proved by a preponderance of the evidence.” DietGoal



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 Innovations LLC v. Chipotle Mexican Grill, Inc., No. 12-cv-764, 2015 WL 1284826, at *1 (E.D.

 Tex. March 20, 2015) (Bryson, J, sitting by designation) (citing Octane, 134 S. Ct. at 1758).

         Whirlpool submits that “TST’s adjudicated status as a willful infringer” and its “objectively

 unreasonable litigation positions” warrant an exceptional case finding. (Dkt. No. 175 at 21).

 Whirlpool also states that “[t]his case more than ‘stands out from’ the dozens of other matters

 before this Court in which the defendants admitted infringement, conceded validity, and ceased

 sales of Filter 3-compatible filters. Here, TST forced Whirlpool to spend millions of dollars to

 obtain a unanimous jury verdict that went resoundingly in its favor.” (Id.)

         TST submits that “[n]o bad-faith conduct, weakness in TST’s defenses, or unprofessional

 conduct by TST’s counsel makes this pedestrian patent dispute stand out from other patent cases,”

 and that, accordingly, Whirlpool “should not be awarded attorneys’ fees.” (Dkt. No. 178 at 24).

         The Court first addresses the issue raised by Whirlpool as to the proper scope of the

 exceptionality inquiry. Whirlpool seems to argue that the analysis as to whether this case “stands

 out from” other patent cases should be limited so as to consider only the dozens of other matters

 between Whirlpool and other Filter 3-compatible filter manufacturers before this Court in which

 those defendants admitted infringement, conceded validity, and ceased sales of Filter 3-compatible

 filters. (Dkt. No. 175 at 21). Whirlpool repeats this refrain in its reply, noting that “29 other

 defendants—including two W-5 customers—conceded infringement and validity.” (Dkt. No.

 186).

         The actions of other defendants in similar positions to TST may be, perhaps, informative

 to the inquiry as points of comparison. However, the inquiry is not limited solely to the small pool

 of all defendants whom Whirlpool sued for infringement. Rather, the inquiry is, as the Court

 instructs, “simply one that stands out from others.” Octane, 134 S. Ct. at 1751. There is no



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 indication that, under Octane, courts are to directly compare the litigation posture and conduct of

 various defendants to each other to determine exceptionality.         Reaching such a conclusion

 necessarily imposes an unfair result on defendants generally. Accordingly, the proper scope of the

 exceptionality inquiry is the whole of patent litigation––the actions of the defendant are to be

 compared relative to the ordinary patent litigation defendant.

        Just as Whirlpool’s “motivation to implement the statutory patent right by bringing suit

 based on a reasonable belief in infringement is not an improper motive,” Checkpoint Sys., Inc. v.

 All-Tag Sec. S.A., 858 F.3d 1371, 1375 (Fed. Cir. 2017), so too is TST’s choice to defend itself in

 court. Requiring Whirlpool to prove its case at trial by jury is not inherently improper, regardless

 of the choices of the other various Whirlpool Filter 3 defendants.

        “The [Supreme] Court has cautioned that fee awards are not to be used ‘as a penalty for

 failure to win a patent infringement suit.’” Checkpoint, 858 F.3d at 1376 (quoting Octane Fitness,

 134 S.Ct. at 1753). As the Federal Circuit has noted, “[t]he legislative purpose behind § 285 is to

 prevent a party from suffering a ‘gross injustice’: ‘The exercise of discretion in favor of [awarding

 attorney fees] should be bottomed upon a finding of unfairness or bad faith in the conduct of the

 losing party, or some other equitable consideration of similar force, which makes it grossly unjust

 that the winner of the particular lawsuit be left to bear the burden of his own counsel fees.’” Id.,

 858 F.3d at 1376 (quoting committee report).

         Taking all relevant factors into account, the Court is not persuaded that this is an

 exceptional case. First, while the Court found that enhanced damages are appropriate as a remedy

 resulting from the jury’s finding of willful infringement, supra at 22, the factors did not uniformly

 weigh in favor of enhancement. While a case may be exceptional if it stands out from others

 because of the weakness of a party's litigating position, Octane Fitness, 134 S.Ct. at 1756, TST’s



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 litigating positions, while unsuccessful, were not sufficiently weak to stand out in this manner.

 Further, the manner in which TST has litigated this case certainly does not support a finding of

 exceptionality.   As Whirlpool itself noted, “the parties’ interactions during the litigation were

 overwhelmingly and consistently professional, cooperative, and positive.” (Dkt. No. 175 at 10).

 This is not the sort of “unreasonable conduct[ which]—while not necessarily independently

 sanctionable—is nonetheless so ‘exceptional’ as to justify an award of fees.” Octane, 134 S. Ct. at

 1757. In taking into account the totality of the circumstances of this case, closely observed by the

 Court during and throughout trial, the Court finds this case does not warrant a finding of

 exceptionality.

        Accordingly, Whirlpool’s Motion is DENIED with respect to its request for a finding of

 exceptionality under 35 U.S.C. § 285.

             IV.    Pre-Judgment Interest

        TST did not oppose Whirlpool’s motion on this issue. (See generally, Dkt. No. 178).

 Whirlpool moves the Court to award pre-judgment interest in this case. (Dkt. No. 175 at 23).

 “Upon finding for the claimant, the court shall award the claimant damages adequate to

 compensate for the infringement but in no event less than a reasonable royalty for the use made of

 the invention by the infringer, together with interest and costs as fixed by the court.” 35 U.S.C. §

 284 (emphasis added.) “[A]n award of prejudgment interest . . . ensure[s] that the patent owner is

 placed in as good a position as he would have been in had the infringer entered into a reasonable

 royalty agreement.” Gen. Motors Corp. v. Devex Corp., 461 U.S. 648, 655 (1983) (citation

 omitted).

        The Court finds that pre-judgement interest is appropriate in this case and, accordingly,

 hereby GRANTS Whirlpool’s Motion with respect to pre-judgment interest. The Court finds that



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 the appropriate rate for prejudgment interest is the 5 year T-bill rate compounded monthly and that

 the interest is to accrue from April 21, 2017 to entry of the Court’s Final Judgment.6

              V.       Post-Judgment Interest

         TST does not oppose Whirlpool’s motion on this issue. (See generally, Dkt. No. 178).

 Whirlpool moves the Court award post-judgment interest in this case (Dkt. No. 175 at 24). Post-

 judgment interest is fixed by statute and “calculated from the date of the entry of the judgment, at

 a rate equal to the weekly average 1-year constant maturity Treasury yield, as published by the

 Board of Governors of the Federal Reserve System, for the calendar week preceding the date of

 the judgment.” 28 U.S.C. § 1961; Rialto Capital Advisors, LLC v. Lewis, No. 11-cv-698, 2013 WL

 1701590, at *5 (E.D. Tex. Apr. 18, 2013) (applying statutory rate). Post-judgment interest applies

 to patent cases and is mandatory. Goodwall Constr. Co. v. Beers Constr. Co., 991 F.2d 751, 759

 (Fed. Cir. 1993); Mathis v. Spears, 857 F.2d 749, 760 (Fed. Cir. 1988).

         The Court finds that post-judgment interest is appropriate in this case and, accordingly,

 hereby GRANTS Whirlpool’s Motion with respect to post-judgment interest. The Court finds that

 post-judgment interest shall apply from the date of the entry of the Court’s final judgment entering

 the Jury’s actual award, the Court’s enhanced damages award, accrued pre-judgment interest, once

 determined, and any and all costs awarded to Whirlpool.

              VI.      Conclusion

         Accordingly, for the reasons provided above, Whirlpool’s Motion for Judgment, for an

 Order Designating Whirlpool the Prevailing Party, for Enhanced Damages, for an Exceptional



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   Sanofi-Aventis v. Apotex Inc., 659 F.3d 1171, 1184–85 (Fed. Cir. 2011) (“Prejudgment interest is awarded on actual
 damages in order to treat the injured party fairly. In Beatrice Foods Co. v. New England Printing & Lithographing
 Co., 923 F.2d 1576, 1580 (Fed.Cir.1991), the court explained that ‘prejudgment interest can only be applied to the
 primary or actual damage portion and not to the punitive or enhanced portion,’ and that ‘prejudgment interest is
 designed ‘to compensate for the delay a patentee experiences in obtaining money he would have received sooner if no
 infringement occurred,’ while ‘on the other hand, damages are trebled as punishment.”).

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 Case Finding, and for an Order Awarding Pre- and Post-judgment Interest (Dkt. No. 175) is hereby

 GRANTED-IN-PART and DENIED-IN-PART as set forth above.
      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 29th day of March, 2018.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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